       Case 1:13-cv-06642-ER-RLE Document 1 Filed 09/19/13 Page 1 of 27




                        UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF NEW YORK
__________________________________________x
                                            :
TRANSCIENCE &                               :
YOLANDA VON BRAUNHUT (individual)           :
                               Plaintiffs   : Index No.:
                                            :
                  -against-                 :
                                            : VERIFIED COMPLAINT
                                            :
BIG TIME TOYS, LLC                          :
                               Defendant.   :
__________________________________________ x

                          PETITION FOR INJUNCTIVE RELIEF
                                         &
                            CLAIM FOR MONEY DAMAGES

       Plaintiffs TRANSCIENCE &YOLANDA VON BRAUNHUT (individual) by and through
their attorney William Timmons, Esq., with offices located in Sayville New York, hereby file
this Summons and Verified Complaint in this Petition for Injunctive Relief and Claim for Money
Damages, and allege the following in support thereof:
                                      INTRODUCTION

By this Petition for Injunctive Relief and Claim for Money Damages Plaintiffs seek:

       ● the issuance of permanent injunction by the Court prohibiting any future use of the
         Licensed Trademarks or Licensed Copyrights by the Defendant as detailed within this
         Complaint;

       ● the issuance of a permanent Order of the Court requiring that the Defendant immediately
         cease selling, marketing , and/or producing any of the previously Licensed Products as
         detailed within this Compliant;

       ● the issuance of an Order of the Court requiring that the Defendant immediately return to
         Plaintiffs any and all unsold product, packets, tooling, packaging materials, and any
         other thing(s) that relate to the previously Licensed Products as detailed within this
         Compliant;

       ● the issuance of a permanent Order of the Court preventing the Defendant from selling,
         marketing , and/or producing knock-off products related to the previously Licensed
         Products as detailed within this Compliant;



                                             Page 2
        Case 1:13-cv-06642-ER-RLE Document 1 Filed 09/19/13 Page 2 of 27




       ● an awarding of compensatory damages, commensurate with interest, from Defendant to
         Plaintiffs from damages resultant of breach of contract and non-performance of an
         implied contract as detailed within this Complaint;

       ● an awarding of statutory damages, commensurate with interest, from Defendant to
         Plaintiffs for Defendant’s willful and egregiously executed trademark and copyright
         infringements of Plaintiffs’ intellectual property as detailed within this Complaint; and

       ● an award of attorney’s fees, costs, and disbursements payable by Defendant in favor
         of Plaintiffs for the total expense of bringing forth this action.

                                   JURISDICTION AND VENUE

       1. The Court has subject matter jurisdiction over the case pursuant to 28 U.S.C. § 1331:

"The district courts shall have original jurisdiction of all civil actions arising under the

Constitution, laws, or treaties of the United States."

       2. This action is based upon Defendant’s alleged infringement of Plaintiffs’ United

States (US) trademarked and US copyrighted intellectual property rights.

       3. In accordance with 28 U.S.C. § 1367, the Court has supplemental jurisdiction over the

entire matter pursuant to "all other claims that are so related . . . that they form part of the same

case or controversy" (§ 1367(a)).

       4. Alternatively, the Court has subject matter jurisdiction over the case pursuant to

diversity jurisdiction under 28 U.S.C. § 1332: US Code - Section 1332: Diversity of citizenship;

amount in controversy; costs.

       5. The matter in controversy in the current instance exceeds the sum or value of $75,000,

exclusive of interest and costs.

       6. The action in the current instance is between citizens/corporations of different states.

       7. The Court has personal jurisdiction over the parties of the case pursuant to the parties’

substantial and recurring economic contacts with the State of New York.

       8. In addition, the parties have consented to the application of the laws of the State of New


                                                Page 3
       Case 1:13-cv-06642-ER-RLE Document 1 Filed 09/19/13 Page 3 of 27




York pursuant to the content of the now terminated “Purchase Agreement and Amendment to

License Agreement” dated May 1, 2009. (see Exhibit B)

       9. Furthermore, the parties have consented to the jurisdiction of the federal courts in the

County of New York of the State of New York with respect to any remedies available to the

parties in aid of arbitration, if so elected, pursuant to the now terminated “Purchase Agreement and

Amendment to License Agreement” dated May 1, 2009.(see Exhibit B)

       10. Finally, the third party to the now terminated contract, namely Escrow Holder

Sichenzia Ross Friedman Ference, LLP, as provided for in the said terminated contract maintains

offices at 61 Broadway, 32nd Floor, New York, NY 10006.

       11. Venue is proper because the third party to the terminated contract, namely Escrow

Holder Sichenzia Ross Friedman Ference, LLP, as provided for in the said terminated contract

maintains offices at 61 Broadway, 32nd Floor, New York, NY 10006.

                                            PARTIES

       12. Plaintiff TRANSCIENCE (hereinafter and above, together with Plaintiff YOLANDA

VON BRAUNHUT, “Plaintiffs”) is a Maryland corporation with offices and a principle place of

business located at 6200 Chapmans Landing Road, Indian Head, MD 20640-3040.

       13. Plaintiff YOLANDA VON BRAUNHUT (hereinafter and above, together with

Plaintiff TRANSCIENCE, “Plaintiffs”) is an individual with an address located at 6200 Chapmans

Landing Road, Indian Head, MD 20640-3040. YOLANDA VON BRAUNHUT is the Chief

Executive Officer (CEO) and chief acting agent of TRANSCIENCE.

       14. Defendant BIG TIME TOYS, LLC (hereinafter, together with its agents acting on its

behalf, “Defendant”) is a Tennessee Limited Liability Company (LLC) with an office located at

708 Berry Road, Nashville, TN 37204. SAM HARWELL is a resident of the State of Tennessee



                                              Page 4
       Case 1:13-cv-06642-ER-RLE Document 1 Filed 09/19/13 Page 4 of 27




and is the president and CEO of Defendant BIG TIME TOYS, LLC.

                                 FACTUAL ALLEGATIONS

       15. Plaintiffs are the sole and exclusive owners of methods, materials, and properties

(including intellectual properties) for designing, hatching, growing, and sustaining live micro-

crustaceans (Artemia NYOS); a hybrid brine shrimp known and sold under the United States

registered trademark “Sea-Monkeys®”.

       16. Plaintiffs are each owners of certain copyrights registered in the United States

Copyright Office (USCO) and others unregistered.

       17. Plaintiff Yolanda von Braunhut is the copyright owner of an instruction book

entitled, “It’s Fun To Raise Pet Sea-Monkeys”.

       18. Noted American inventor and marketer Harold von Braunhut held 196 patents for

various products, many of which have become cultural icons, with the United States Patent and

Trademark Office (USPTO).

       19. Harold von Braunhut invented and registered with the USPTO the brine shrimp

product, initially called “Instant Life”, in 1957. (see Exhibit A; sub-exhibits A thru D)

       20. Harold changed the name to “Sea-Monkeys®”and registered such with the USPTO

in the year 1962.(see Exhibit A; sub-exhibits A thru D)

       21. Harold started a corporation named “Transcience” and transferred to it ownership of

various products he had invented over the years.

       22. Transcience relies upon direct sales and licensing agreements relating to its Sea-

Monkeys® product to account for most of its profits.

       23. The Transcience Corporation is a Maryland corporation with offices and a principle

place of business located at 6200 Chapman’s landing Road, Indian Head, Maryland 20640.



                                              Page 5
       Case 1:13-cv-06642-ER-RLE Document 1 Filed 09/19/13 Page 5 of 27




       24. Harold married Yolanda Signorelli (now known as: Yolanda von Braunhut) in the

year 1980.

       25. Harold was the CEO of Transcience until his untimely death in 2003.

       26. Upon his death Yolanda became the CEO of Transcience.

       27. Yolanda has been the CEO of Transcience ever since.

       28. In June of the year 2007, Plaintiffs entered into a License Agreement with the

Defendant Big Time Toys, LLC. (see Exhibit A)

       29. The 2007 License Agreement granted Defendant rights to produce, market, and sell

the Sea-Monkeys® product owned by Plaintiffs.

       30. The 2007 License Agreement provided that Defendant Licensee “pay to the Licensor

a royalty of ten percent (10%) of ‘Gross Sales’ of Licensed Products sold by Licensee to third

parties”. (see Exhibit A; page 8)

       31. The 2007 License Agreement provided that the royalty payments were due on the

10th of each month over the duration of the contract. (see Exhibit A; page 8)

       32. The 2007 License Agreement provided that the agreement would commence on

January 1st 2008 and expire on December 31, 2012 unless otherwise terminated, renewed, or

extended by terms as provided therein.

       33. The 2007 License Agreement provided that the Licensors will continue to

manufacture, produce, and sell (at a controlled and reduced cost) to the Licensee the trade secret

pouches upon which the Sea-Monkeys® product is based.(see Exhibit A; paragraph pages 9-

10; 16-18).

       34. The 2007 License Agreement provided that Licensee would pay to Licensor a

supplemental laboratory fee of $750 per week for “Laboratory and Research Facility



                                              Page 6
       Case 1:13-cv-06642-ER-RLE Document 1 Filed 09/19/13 Page 6 of 27




Maintenance”. (see Exhibit A; paragraph 10A; page 17)

       35. The 2007 License Agreement provided that the Licensees would procure and

otherwise produce other parts of the final Licensed Product, including but not limited to the

water tank and packaging materials, from outside sources.

       36. The 2007 License Agreement gave Defendant Licensee the right to purchase the

entire Licensed Product “for an amount not to exceed 10 million dollars”. (see Exhibit A;

paragraph 17)

       37. The 2007 License Agreement provided that the 10 million dollar purchase price

would be realized in 2 segments; namely an initial lump sum 5 million dollar payment followed

by an application of a 5% royalty payment per year from merchandising sales (and a per year

percentage of entertainment related revenue) from that point thereafter until the remaining 5

million dollar sum was attained.

       38. The 2007 License Agreement provided that after realization of the first 5 million

dollars of the 10 million dollar purchase amount that the Licensor would turn over to Licensee

the production/manufacture of the pouches, including but not limited to the trade secrets, upon

which the Sea-Monkeys® product is based. (see Exhibit A; page 23)

       39. The 2007 License Agreement provided that the “agreement shall be governed by the

laws of the State of New York.” (see Exhibit A; page 26; paragraph 21)

       40. In May of the year 2009 Plaintiffs and Defendant modified their existing agreement

as evidenced by “Purchase Agreement and Amendment to License Agreement”.(see Exhibit B)

       41. The 2009 Amendment Agreement modified the 2007 License Agreement only where

expressly indicated leaving those provisions not expressly indicated intact. (see Exhibit B;

Section 5; page 12)



                                              Page 7
        Case 1:13-cv-06642-ER-RLE Document 1 Filed 09/19/13 Page 7 of 27




        42. The 2009 Amendment Agreement provided that the supplemental laboratory fee

payable to Licensor by Licensee for “Laboratory and Research Facility Maintenance” would be

reduced to $375 per week. (see Exhibit B; page 15 [f])

        43. The 2009 Amendment Agreement provided that Defendant Licensee “pay to the

Licensor a royalty of twenty percent (20%) of ‘Gross Sales’ of Licensed Products sold by

Licensee to third parties” (see Exhibit B; pages & 4).

        44. The 2009 Amendment Agreement expressly provided that the royalty payments

would be applied directly to the “Initial Purchase Price” to realize the first 5 million dollars of

the 10 million dollar purchase price. (see Exhibit B; pages 3 & 4).

        45. The 2009 Amendment Agreement “expressly agreed that all such (royalty) payments

due on and after the Effective Date shall be applied to the payment of the Purchase Price.” (see

Exhibit B; page 4).

        46. Furthermore, the 2009 Amendment Agreement expressly provided that the “Initial

Purchase Price” of 5 million dollars “shall be paid as follows: (i) $500,000 shall be paid upon

execution of this Agreement” and “(ii) $4,500,000 shall be paid in the form of royalties payable

under the License Agreement.” (see Exhibit B; page 3; Section 2.2. Purchase Price (a) (i) &

(ii))

        47. Plaintiffs note that 500,000 + 4,500,000 equals the sum of 5,000,000.

        48. Plaintiffs/Licensors and Defendant Licensee performed in accordance with their

agreement without further occurrence until December of the year 2012.

        49. A few days before the day when the royalty payments were due on December 10th

2012 Defendant, through its agents, called Plaintiffs and informed Plaintiffs of Defendant’s

intention to NOT provide the royalty payment on the December 10th due date.



                                                Page 8
        Case 1:13-cv-06642-ER-RLE Document 1 Filed 09/19/13 Page 8 of 27




        50. Defendant indicated to Plaintiffs at that time an intention to breach the agreement.

        51. Defendant did NOT provide the royalty payment on December 10th 2012 as agreed to

by the parties in the 2007 License Agreement and 2009 Amendment Agreement.

        52. Defendant ceased to make laboratory fee payments on or about December 10th 2012.

        53. The 2009 Amendment Agreement, namely Section 2.4.(a) Remedies for BTT failure

to Pay Royalties (see Exhibit B; page 6), provided that, in the event of a failure to make a

royalty payment that the Licensee shall have 15 days from the date of receipt of notice of failure

to make a royalty payment to cure any such default.

        54. Plaintiff sent notice to Defendant of the failure of Defendant to make a royalty

payment in the form of a letter entitled “NOTICE OF DEFAULT” sent to the main offices of

Defendant on December 20, 2012. (see Exhibit C)

        55. Plaintiff effectively declared,115 days after the receipt of the “NOTICE OF

DEFAULT” by Defendant without cure of the default, the 2009 Amendment Agreement and the

2007 License Agreement “null and void and of no further force of effect” in a letter sent to the

Defendant dated January 18, 2013. (see Exhibit D)

        56. Defendant, through its agents, in a letter dated January 22, 2013 sent to Plaintiffs’

counsel facetiously, ludicrously, and in demonstration of bad faith put forth an unfounded notion

that the pouch payments for the purchase of the Sea-Monkeys® pouches should be counted

toward the realization of the first 5 million dollars or “Initial Purchase Price” of the 10 million

dollar total purchase price of Sea-Monkeys® Properties. (see Exhibit E)

        57. Such a notion is nowhere to be found or can be held to be anywhere implied in either

the 2007 License Agreement or the 2009 Amendment to License Agreement.

1
The declaration of termination is consistent with Section 2.4.(a)(i)of the 2009 Amendment Agreement. (see Exhibit
B; page 6)


                                                    Page 9
       Case 1:13-cv-06642-ER-RLE Document 1 Filed 09/19/13 Page 9 of 27




       58. Such an unfounded notion is a delaying tactic and is fraught with malice.

       59. If such a notion is sustained, echoed, or in any way continues to be maintained by

Defendant Plaintiffs reserve the right to amend this Complaint with the insertion of an action for

tortious interference of contract replete with a demand for substantial punitive damages and

sanctions.

       60. The phrase “all such payments” in the last line of Section 2.2(a) of the 2009

Amendment Agreement clearly and without question or reasonable doubt refers to all such

royalty payments, and no other payment, being now (relative to the initial 2007 License

Agreement) applicable to the realization of the 5 million dollar “Initial Purchase Price”. (see

Exhibit B; page 4)

       61. Plaintiffs allege that, during this time, Defendant, through its agents, attempted to

persuade Plaintiffs to accept a lower purchase price for the sale of “Sea-Monkeys® Properties”.

       62. Plaintiffs did NOT agree to accept a lower purchase price for the sale of “Sea-

Monkeys® Properties”.

       63. Plaintiffs effectively reconfirmed the declaration of termination of the 2009

Amendment Agreement and the 2007 License Agreement in a letter sent to the Defendant dated

January 29,2013. (see Exhibit F)

       64. Plaintiffs sent further correspondence to Defendant in attempts to resolve the issues

in as civil a manner as possible and avoid the need for unnecessary and frivolous litigation. (see

Exhibit G)

       65. Plaintiffs allege that Defendant, through its agents, responded in a nonsensical,

unrealized, trite, trivial, malicious, and dismissive way. (see Exhibit H)

       66. Plaintiffs allege that Defendant further responded by threatening to initiate litigation



                                              Page 10
       Case 1:13-cv-06642-ER-RLE Document 1 Filed 09/19/13 Page 10 of 27




against Plaintiffs should Plaintiffs attempt to enter into agreement(s) with third parties to license

the Sea-Monkeys® product to anyone else.

       67. Plaintiffs allege that Defendant did not initiate legal process of any sort against

Plaintiffs between December 10th of the year 2012 and the time of filing of this Complaint.

       68. In the current instance Plaintiffs do NOT seek the Court to adjudicate the issue of

whether or not there was a breach of contract by the Defendant.

       69. Uncontroverted prima facie evidence of breach of the 2009 Amendment Agreement

and the 2007 License Agreement by Defendant is detailed within this Complaint.

       70. The contract between Plaintiffs and the Defendant was effectively terminated upon

Plaintiffs declaration of such after Defendant’s failure to cure the default after receiving proper

notice of default. (see Exhibit B; page 6; see also Exhibits D & F)

       71. Pursuant to Section 2.4.(a)Remedies for BTT failure to Pay Royalties of the 2009

Amended Agreement the remedies for failure to pay the royalty after notice of default and failure

to cure default provide, among other things, that Plaintiffs be entitled to: 1) declare the

agreement terminated with “no further force or effect”, 2) “commence an action for equitable

relief, including but not limited to, injunctive relief prohibiting any continued use of the Licensed

Trademarks and Licensed Copyrights”, 3) require that Defendants “immediately cease selling,

marketing, or producing the Licensed Products and Sea-Monkeys® Properties”, and finally, 4)

that “any rights granted” under the contract to Defendant be “deemed null and void”. (see

Exhibit B; pages 6 & 7)

       72. Defendant, all throughout the days between January 18, 2013 and the date of

September 10th 2013, prominently featured the Sea-Monkeys® product on the homepage of the

Big Time Toys website located at http://www.bigtimetoys.com/ without right, permission or



                                               Page 11
       Case 1:13-cv-06642-ER-RLE Document 1 Filed 09/19/13 Page 11 of 27




authorization to do so. (see Exhibits K, L, M &N)

        73. Plaintiffs allege that Defendant continues to prominently feature the Sea-Monkeys®

product on the homepage of the Big Time Toys website without right, permission or authorization

to do so.

        74. Plaintiffs have been directly harmed by Defendant’s interference with Plaintiffs’

ability to generate profits from the Sea-Monkeys® product.

        75. Plaintiffs now seek the Court’s assistance: 1) to recover damages resultant from

Defendant’s past, ongoing, and continuing unauthorized use of Sea-Monkeys® Properties and 2)

to prevent further future harm to the Plaintiffs at the hands of the Defendant.

                            COUNT ONE
      DAMAGES SUSTAINED FROM DEFENDANT’S BREACH OF CONTRACT

        76. Plaintiffs repeat, reiterate, and re-allege each and every fact and/or allegation set

forth above and incorporate such as if fully set forth herein.

        77. Plaintiffs maintain that a valid contract existed between the parties as evidenced from

the 2007 License Agreement and the 2009 Amendment to License Agreement (see Exhibits

A&B).

        78. Defendant failed to produce the royalty payment due on December 10th 2012.

        79. Defendant breached the contract with Plaintiffs when it failed to correct the default

within 15 days after receipt of notice of default.

        80. Plaintiffs were in compliance with the terms of the agreement between the parties

over the lifespan of the now terminated agreement.

        81. Defendant has NOT produced a single royalty payment to the Plaintiffs since

November of 2012.

        82. Defendant has NOT made a single laboratory fee payment since Defendant’s breach


                                               Page 12
      Case 1:13-cv-06642-ER-RLE Document 1 Filed 09/19/13 Page 12 of 27




of contract in December of 2012.

          83. Plaintiffs declared the agreement between the parties “null and void with no further

force or effect” pursuant to Section 2.4.(a)(i) of the 2009 Amendment Agreement on January

2013. (see Exhibit D; page 6; and Exhibits D & F)

          84. Defendant continues to receive benefits from continuing and ongoing unauthorized

sales of the Sea-Monkeys® product.

          85. As a result of the aforementioned breach of contract Plaintiffs have suffered damages

resultant from Defendant’s failure to produce the royalty payments and the supplemental

laboratory fee payment as provided for in the 2009 Amendment to License Agreement.

          86. The 2009 Amendment to License Agreement provided that Defendant pay a royalty

of 20% of Gross sales of monies generated from sale to third parties of the previously licensed

Sea-Monkeys® product.

          87. The 2009 Amendment to License Agreement provided a forecast of approximately

$3,750,000 Gross sales per year of the Sea-Monkeys product and based upon that figure

provided a minimum royalty payment payable by Defendant to Plaintiffs of $750,000 per year

(payable in quantities of $62,500 per month). (see Exhibit B; page 4 & 5)

          88. Compensatory damages in the State of New York “place the non-breaching party in

as good a position as it would have been had the contract been performed.” Brushton-Moira

Cent. School Dist. v. Fred H. Thomas Assocs., P.C., 91 N.Y.2d 256, 261, 692 N.E.2d 551, 669

N.Y.S.2d 520 (N.Y. 1998).

          89. Damages are based on the accrual date of Plaintiffs’ cause of action (Rodriguez v

Moore-McCormack Lines, 32 NY2d 425, supra; Simon v Electrospace Corp., 28 NY2d 136,

supra).



                                               Page 13
       Case 1:13-cv-06642-ER-RLE Document 1 Filed 09/19/13 Page 13 of 27




       90. Plaintiffs note that interest is awarded pursuant to statutory mandate; most notably

CPLR 5001(a) providing that interest shall be recovered upon a sum awarded for a breach of

contract and CPLR 5001(b) mandating that "interest shall be computed from the earliest date the

cause of action existed". (see Exhibit I)

       91. As a result of the breach of contract, as described above, Plaintiffs have suffered

money damages for royalty payments NOT PAID in the amount of $62,500.00 per month for

each and every month (due on the tenth of each month) since Defendant’s first failure to produce

the royalty payment due on December 10th 2012.

       92. As a result of Defendant’s breach of contract, as described above, Plaintiffs have

suffered money damages for unpaid supplemental laboratory fee payments in the amount of

$375.00 per week for each and every week since Defendant’s first failure to pay this fee on or

about December 10th 2012.

       93. As a result Defendant’s breach of contract, as described above, Plaintiffs continue to

suffer money damages for royalty payments NOT paid in the amount $62,500.00 for each and

every future month that goes by from the date of this Complaint forward; all resultant from

Defendant’s failure to produce the royalty payment due on the 10th of each month as specified in

the original breached agreement.

                                  COUNT TWO
                      DAMAGES SUSTAINED FROM DEFENDANT’S
                     NON-PERFORMANCE OF IMPLIED CONTRACT

       94. Plaintiffs repeat, reiterate, and re-allege each and every fact and/or allegation set

forth above and incorporate such as if fully set forth herein.

       95. Plaintiffs maintain that a valid express contract existed between the parties as

evidenced from the 2007 License Agreement and the 2009 Amendment to License Agreement



                                              Page 14
       Case 1:13-cv-06642-ER-RLE Document 1 Filed 09/19/13 Page 14 of 27




(see Exhibits A & B).

       96. Defendant failed to pay Plaintiffs the royalty payment due on December 10th 2012.

       97. Defendant breached the express contract with Plaintiffs when it failed to correct the

default within 15 days after receipt of notice of default. (see Exhibits C, D & F)

       98. Plaintiffs were in compliance with the terms of the express agreement between the

parties over the lifespan of the now terminated agreement.

       99. Defendant has NOT produced a single royalty payment to the Plaintiffs since

November of 2012.

       100. Defendant has NOT made a single laboratory fee payment since Defendant’s breach

of the express agreement in December of 2012.

       101. Plaintiffs declared the agreement between the parties “null and void and of no

further force or effect” pursuant to Section 2.4.(a)(i) of the 2009 Amendment Agreement on

January 2013. (see Exhibits D& F)

       102. Defendant continues to receive benefits from continuing and ongoing unauthorized

sales of the Sea-Monkeys® product.

       103. Plaintiffs contend that an implied contract came into existence by default after

Defendant’s willful termination of the agreement previously entered into by the parties.

       104. Plaintiffs argue that past, ongoing, and future unjust enrichments by Defendant at

the expense of Plaintiffs necessitate the imposition of an implied contract between the parties.

       105. Plaintiffs have no desire to reform or otherwise reenter into any contractual

relationship with Defendant outside the temporal implied contract that Plaintiffs contend came

into being by default upon Defendant’s breach of the original express agreement.

       106. Plaintiffs contend that the implied contract now in place by default serves only to



                                              Page 15
       Case 1:13-cv-06642-ER-RLE Document 1 Filed 09/19/13 Page 15 of 27




compensate the Plaintiffs for use of Plaintiffs’ valuable intellectual property and for no other

reason.

          107. Plaintiffs note that the implied contract now in place by default does not in any way

provide for the sale of Sea-Monkeys® Properties to Defendant.

          108. Plaintiffs note that Defendant’s willful failure to cure the breach of contract and

subsequent visitation of hardship upon the Plaintiffs, as described with particularity throughout

this Complaint, has terminated the possibility of sale of Sea-Monkeys® Properties to Defendant.

          109. The 2009 Amendment to License Agreement provided that Defendant pay a royalty

of 20% of Gross sales of monies generated from sale to third parties of the previously licensed

Sea-Monkeys® product.

          110. The 2009 Amendment to License Agreement provided a forecast of approximately

$3,750,000 Gross sales per year of the Sea-Monkeys product and based upon that figure

provided a minimum royalty payment payable by Defendant to Plaintiffs of $750,000 per year

(payable in quantities of $62,500 per month). (see Exhibit B; page 4 & 5)

          111. Damages are intended to place the non-breaching party in as good a position as it

would have been had the contract been performed (see, e.g., Goldstein Corp v City of New York,

80 NY2d 366, 373).

          112. Damages are based on the accrual date of Plaintiffs’ cause of action (Rodriguez v

Moore-McCormack Lines, 32 NY2d 425, supra; Simon v Electrospace Corp., 28 NY2d 136,

supra).

          113. Plaintiffs note that interest is awarded pursuant to statutory mandate; most notably

CPLR 5001(a) providing that interest shall be recovered upon a sum awarded for a breach of

contract and CPLR 5001(b) mandating that "interest shall be computed from the earliest date the



                                                Page 16
        Case 1:13-cv-06642-ER-RLE Document 1 Filed 09/19/13 Page 16 of 27




cause of action existed". (see Exhibit I)

        114. As a result of Defendant’s non-performance of the implied contract, as described

above, Plaintiffs have suffered money damages for royalty payments NOT paid in the amount

$62,500.00 per month for each and every month (on the tenth of each month) since the

Defendant’s first failure to produce the royalty payment due on December 10th 2012.

        115. As a result of Defendant’s non-performance of the implied contract, as described

above, Plaintiffs have suffered money damages for missed supplemental laboratory fee payments

in an amount of either $375.00 or $750.00 per week, dependent upon the measure of damages,

for each and every week since Defendant’s first failure to pay this fee on or about December 10th

2012.

        116. As a result Defendant’s non-performance of the implied contract, as described

above, Plaintiffs continue to suffer money damages for royalty payments NOT paid in the

amount $62,500.00 for each and every future month that goes by from the date of this Complaint

forward; all resultant from Defendant’s failure to produce the royalty payment due on the 10th of

each month as specified in the terminated agreement and resurrected in the implied contract.

                               COUNT THREE
                       DEFENDANT’S UNJUST ENRICHMENT
                 FROM NON-PERFORMANCE OF IMPLIED CONTRACT

        117. Plaintiffs repeat, reiterate, and re-allege each and every fact and/or allegation set

forth above and incorporate such as if fully set forth herein.

        118. Plaintiffs have NOT received royalty payments from Defendant since Defendant’s

last royalty payment was received on or about November 10th 2012.

        119. Defendant has been unjustly enriched by its continuing and ongoing unauthorized

sales of the previously licensed Sea-Monkeys® product.



                                               Page 17
       Case 1:13-cv-06642-ER-RLE Document 1 Filed 09/19/13 Page 17 of 27




       120. Defendant was enriched at the expense of the Plaintiffs: 1) by minimally denying

Plaintiffs the previous entitlement to 20% of the gross sales of the previously licensed Sea-

Monkeys® product and 2) by maximally preventing and/or interfering with Plaintiffs’ right to

generate sales on Plaintiffs’ own accord from sales or license agreements of the Sea-Monkeys®

product to third parties.

       121. Defendant’s non-performance, non-accountability, delay, obstruction, and inability

to account for the profits generated from past and continuing sales of the previously licensed

Sea-Monkeys® product is inherently unjust.

       122. Defendant has no good faith basis or defense to justify or otherwise excuse their

past and ongoing enrichment at the expense of the Plaintiffs.

       123. Defendant has no good faith basis or defense for its continuing, corruptible posture.

       124. Plaintiffs seek both remedies at law and remedies in equity for Plaintiffs unjust

enrichment as stated throughout this Complaint in the form of: 1) money damages for monies

that have otherwise been diverted from the Plaintiffs and 2) equitable relief in the form of

injunctions that will prevent Defendant from visiting continuing future harm upon the Plaintiffs.

       125. As a result of Defendant’s unjust enrichment, as described above, Plaintiffs have

suffered substantial financial damages by the self-serving actions of the Defendant and will

continue to suffer ongoing recurring future damages if Defendant is not otherwise prevented

from doing so.

                                         COUNT FOUR
                                         CONVERSION

       126. Plaintiffs repeat, reiterate, and re-allege each and every fact and/or allegation set

forth above and incorporate such as if fully set forth herein.

       127. Plaintiffs have clear and unequivocal title to the intellectual property that formed


                                              Page 18
          Case 1:13-cv-06642-ER-RLE Document 1 Filed 09/19/13 Page 18 of 27




the basis for the contractual relationship established between the Plaintiffs and the Defendant in

2007 and revisited in 2009. (see Exhibit A; sub-exhibits A thru D)

          128. Defendant has exercised and continues to exercise control over the Plaintiffs

intellectual property in a manner that is inconsistent with the Plaintiff's exclusive right of

possession.

          129. Defendant has violated or otherwise interfered with Plaintiffs’ dominion relative to

Plaintiffs’ intellectual property.

          130. Defendant continues to violate or otherwise interfere with Plaintiffs’ dominion

relative to Plaintiffs’ intellectual property.

          131. Defendant, between the dates of January 18, 2013 and September 10th 2013 and

presumably thereafter, identified/identifies the trademarked Sea-Monkeys® product as one of

“Our Home Run Toys” on the Big Time Toys website located at http://www.bigtimetoys.com/.

(see Exhibit M)

          132. Defendant, as demonstrated by its continuing undisputed lack of compensatory

providence, has made an unauthorized assumption of the right to possession or ownership of the

Sea-Monkeys® Properties.

          133. Defendant has failed to compensate Plaintiffs for Defendant’s past and ongoing

unauthorized use of the previously licensed Sea-Monkeys® product.

          134. Defendant has wrongfully taken possession of monies to which it is not entitled to

in obviation of and with complete disrespect and disregard of Plaintiff’s intellectual property

rights.

          135. Defendant continues to wrongfully take possession of monies to which it is not

entitled to in obviation and with complete disrespect and disregard of Plaintiff’s intellectual



                                                 Page 19
       Case 1:13-cv-06642-ER-RLE Document 1 Filed 09/19/13 Page 19 of 27




property rights.

       136. Defendant has made an unauthorized assumption of the right to possession or

ownership of monies to which Plaintiffs have sole and exclusive claim.

       137. As a result of the conversion, as described above, Defendant has converted property

and continues to convert property into property of its own to which Plaintiffs alone have sole and

exclusive claim.

                                     COUNT FIVE
                               TRADEMARK INFRINGEMENT

       138. Plaintiffs repeat, reiterate, and re-allege each and every fact and/or allegation set

forth above and incorporate such as if fully set forth herein.

       139. Plaintiffs have clear and unequivocal title to the intellectual property that formed

the basis for the contractual relationship established between the Plaintiffs and the Defendant in

2007 and revisited in 2009. (see Exhibit A; sub-exhibits A thru D)

       140. Plaintiffs declared the agreement between the parties “null and void and of no

further force or effect” pursuant to Section 2.4.(a)(i) of the 2009 Amendment Agreement on

January 18th of the year 2013. (see Exhibits D & F)

       141. Plaintiffs own all trademarks for the Sea-Monkeys® product. (see Exhibit A; sub-

exhibits A thru D)

       142. All of Plaintiffs’ trademarks for the Sea-Monkeys® product are registered with the

United States Trademark and Patent Office (USPTO). (see Exhibit A; sub-exhibits A thru D)

       143. Plaintiffs have NOT received royalty payments from Defendant since Defendant’s

last royalty payment was received on or about November 10th 2012.

       144. Defendant, between the dates of January 18, 2013 and September 10th 2013 and

presumably thereafter, prominently featured/features the trademarked Sea-Monkeys® product on


                                              Page 20
       Case 1:13-cv-06642-ER-RLE Document 1 Filed 09/19/13 Page 20 of 27




the Big Time Toys website located at http://www.bigtimetoys.com/.(see Exhibits K, L, M, & N)

        145. Defendant, between the dates of January 18, 2013 and September 10th 2013 and

presumably thereafter, identified/identifies the trademarked Sea-Monkeys® product as one of

“Our Home Run Toys” on the Big Time Toys website located at http://www.bigtimetoys.com/.

(see Exhibit M)

        146. Defendant has presented and continues to present to the world an assumed right

and/or authorization to sell the trademarked Sea-Monkeys® product on the Big Time Toys

website located at http://www.bigtimetoys.com/. (see Exhibits K & M).

        147. Defendant has received and continues to receive benefits from continuing and

ongoing unauthorized sales of Plaintiffs trademarked Sea-Monkeys® product.

        148. Defendant has made no attempt to compensate Plaintiffs for their past and ongoing

unauthorized use of Plaintiffs trademarked Sea-Monkeys® product.

        149. Defendant willfully continues to profit from its unauthorized use of Plaintiffs

trademarked Sea-Monkeys® product.

        150. Defendant’s profits come at the expense of Plaintiffs and precipitate harm upon the

Plaintiffs.

        151. Defendant on its website represents to its partners/retailers that it has authorization

to sell the trademarked Sea-Monkeys® product. (see Exhibits K, M, & N)

        152. Defendant’s representation of authorization to sell the trademarked Sea-Monkeys®

product on Defendant’s web site has interfered with Plaintiffs ability to enter into 3rd party

contractual relationships to profit from its Sea-Monkeys® product.

        153. The Lanham Act; enacted July 6, 1946, codified at 15 U.S.C. § 1051 et seq. (15

U.S.C. ch. 22; provides remedies that can be sought when a trademark is infringed in Subchapter



                                               Page 21
       Case 1:13-cv-06642-ER-RLE Document 1 Filed 09/19/13 Page 21 of 27




III, Sections 42 and 43.

       154. These provisions are codified in 15 USC §1117; “Recovery for violation of rights;

profits, damages and costs; attorney fees; treble damages”. (see Exhibit J)

       155. Plaintiffs elect to be compensated (determinable at trial) by the greater of actual

damages, defining compensatory damages as all profits Defendant unrightfully obtained, or

statutory damages as provided for by the Lanham Act and/or other laws of the USA.

       156. As a result of the trademark infringement, as described above, Defendant has

profited and continues to profit from intellectual property to which Defendant has no claim.

                                       COUNT SIX
                                COPYRIGHT INFRINGEMENT

       157. Plaintiffs repeat, reiterate, and re-allege each and every fact and/or allegation set

forth above and incorporate such as if fully set forth herein.

       158. Plaintiffs have clear and unequivocal title to the intellectual property that formed

the basis for the contractual relationship established between the Plaintiffs and the Defendant in

2007 and revisited in 2009. (see Exhibit A; sub-exhibits A thru D)

       159. Plaintiffs declared the agreement between the parties “null and void and of no

further force or effect” pursuant to Section 2.4.(a)(i) of the 2009 Amendment Agreement on

January 18th of the year 2013. (see Exhibits D & F)

       160. Plaintiffs own all copyrights for the Sea-Monkeys® product. (see Exhibit A; sub-

exhibits A thru D)

       161. All of Plaintiffs’ copyrights for the Sea-Monkeys® product are registered with the

United States Copyright Office (USCO). (see Exhibit A; sub-exhibits A thru D)

       162. Plaintiffs have NOT received royalty payments from Defendant since Defendant’s

last royalty payment was received on or about November 10th 2012.


                                              Page 22
       Case 1:13-cv-06642-ER-RLE Document 1 Filed 09/19/13 Page 22 of 27




        163. Defendant, between the dates of January 18, 2013 and September 10th 2013 and

presumably thereafter, prominently featured/features the copyrighted Sea-Monkeys® product on

the Big Time Toys website located athttp://www.bigtimetoys.com/. (see Exhibits K, L, M, & N)

        164. Defendant, between the dates of January 18, 2013 and September 10th 2013 and

presumably thereafter, identified/identifies the copyrighted Sea-Monkeys® product as one of

“Our Home Run Toys” on the Big Time Toys website located at http://www.bigtimetoys.com/.

(see Exhibit M)

        165. Defendant has presented and continues to present to the world an assumed right

and/or authorization to sell the copyrighted Sea-Monkeys® product on the Big Time Toys

website located at http://www.bigtimetoys.com/. (see Exhibits K & M).

        166. Defendant has received and continues to receive benefits from continuing and

ongoing unauthorized sales of Plaintiffs copyrighted Sea-Monkeys® product.

        167. Defendant has made no attempt to compensate Plaintiffs for their past and ongoing

unauthorized use of Plaintiffs copyrighted Sea-Monkeys® product.

        168. Defendant willfully continues to profit from its unauthorized use of Plaintiffs

copyrighted Sea-Monkeys® product.

        169. Defendant’s profits come at the expense of Plaintiffs and precipitate harm upon the

Plaintiffs.

        170. Defendant on its website represents to its partners/retailers that it has authorization

to sell the copyrighted Sea-Monkeys® product. (see Exhibits K, M, & N)

        171. Defendant’s representation of authorization to sell the copyrighted Sea-Monkeys®

product on Defendant’s web site has interfered with Plaintiffs ability to enter into 3rd party

contractual relationships to profit from its product.



                                               Page 23
       Case 1:13-cv-06642-ER-RLE Document 1 Filed 09/19/13 Page 23 of 27




       172. Exclusive rights in copyrighted works are defined and remedies for infringement

are contained in Chapters 1 and 5 of Title 17 of the United States Code (USC). (see Exhibit O)

       173. Chapter 5 section 501 of Title 17 of the USC provides for an action of Infringement

of Copyright; 17 USC § 501. (see Exhibit P)

       174. Plaintiffs assert that the copyrighted Sea-Monkeys® product is a protected work,

that the Defendant copied the protected work, and that such copying of the protected work was

an infringement of Plaintiffs copyright.

       175. Chapter 5 section 504 of Title 17 of the USC provides for remedies for copyright

infringement; 17 USC § 504. (see Exhibit Q)

       176. Plaintiffs will elect to be compensated (before final judgment of the matter) by

either actual damages, defining compensatory damages as all profits Defendant unrightfully

obtained, or statutory damages as provided for by US Copyright Law.

       177. As a result of the copyright infringement, as described above, Defendant has

profited and continues to profit from intellectual property to which Defendant has no claim.


                           DEMAND FOR EQUITABLE RELIEF

WHEREFORE, the Plaintiff respectfully requests the following equitable relief:

       (1) The issuance of an injunction by the Court prohibiting any continued use of the
           Licensed Trademarks or Licensed Copyrights as provided for in the now terminated
           2007 “License Agreement” and the likewise terminated 2009 “Purchase Agreement and
           Amendment to License Agreement”;


       (2) The issuance of an Order of the Court requiring that the Defendants immediately cease
           selling, marketing , and/or producing any of the Licensed Products, including but not
           limited to Sea-Monkeys® Properties, as provided for in the now terminated 2007



                                             Page 24
        Case 1:13-cv-06642-ER-RLE Document 1 Filed 09/19/13 Page 24 of 27




             “License Agreement” and the likewise terminated 2009 “Purchase Agreement and
             Amendment to License Agreement”;


        (3) The issuance of an Order of the Court requiring that the Defendant immediately return to
             Plaintiffs any and all unsold product, packets, tooling, packaging materials, and any
             other thing related to the previously Licensed Products as provided for in the now
             terminated 2007 “License Agreement” and the likewise terminated 2009 “Purchase
             Agreement and Amendment to License Agreement”;


        (4) The issuance of a permanent Order of the Court prohibiting the Defendant from selling,
             marketing , and/or producing knock-off products related to the previously Licensed
             Products as defined in the now terminated 2007 “License Agreement” and the likewise
             terminated 2009 “Purchase Agreement and Amendment to License Agreement”;

        (5) Assessing against the Defendant punitive damages, in favor of Plaintiffs, to punish
             Defendant for their egregious behavior and uncivil tortious actions which necessitated
             the bringing of this lawsuit;


        (6) Awarding the Plaintiffs attorney’s fees, costs, and disbursements of this action, and any
             such other and further relief as the Court may deem just and proper.



                                  DEMAND FOR RELIEF AT LAW

WHEREFORE, in addition to the above stated equitable relief, the Plaintiff respectfully requests the
following relief at law:


        (1) Awarding the Plaintiffs the greater of 1) compensatory damages for royalty payments
             NOT paid in the amount of SIXTY TWO THOUSAND FIVE HUNDRED DOLLARS
             ($62,500.00 USD) multiplied by the number of months that minimum royalty payments
             have NOT been paid (beginning on December 10th 2012)2 OR 2) compensatory


2
 The amount past due, using the minimum royalty payment as the measure of damages, as of September 10th 2013 is
exactly SIX HUNDRED AND TWENTY FIVE THOUSAND DOLLARS ($625,000.00 USD). On October 10th 2013

                                                    Page 25
       Case 1:13-cv-06642-ER-RLE Document 1 Filed 09/19/13 Page 25 of 27




            damages equaling 20% of Gross sales of monies generated from sale to third parties
            of the previously licensed Sea-Monkeys® product for the period that royalty payments
            have NOT been paid (beginning on December 10th 2012); for amounts past due pursuant
            to the now terminated 2007 “License Agreement” and the likewise terminated 2009
            “Purchase Agreement and Amendment to License Agreement”;


        (2) Awarding the Plaintiffs compensatory damages for supplemental laboratory fees NOT
            paid in the amount of SEVEN HUNDRED AND FIFTY DOLLARS ($750.00 USD)
            multiplied by the number of weeks that supplemental laboratory fees have NOT been
            paid (beginning on December 10th 2012)3 for amounts past due pursuant to the now
            terminated 2007 “License Agreement”;

        (3) Awarding the Plaintiffs interest thereupon due, in accordance with amounts due relative
            to the now terminated 2007 “License Agreement” and the likewise terminated 2009
            “Purchase Agreement and Amendment to License Agreement”;


        (4) Awarding the Plaintiffs statutory damages, commensurate with interest, for Defendant’s
            willful and egregiously executed trademark and copyright infringements of Plaintiffs’
            intellectual property; and


        (5) Awarding the Plaintiffs attorney’s fees, costs, and disbursements of this action, and any
            such other and further relief as the Court may deem just and proper.



                                  DEMAND FOR TRIAL BY JURY

Plaintiffs hereby demand a trial by jury on all issues triable of right by jury.




and on the tenth of every month thereafter this amount will increase incrementally by SIXTY TWO THOUSAND FIVE
HUNDRED DOLLARS ($62,500.00 USD).
3
  The amount past due as of September 6th 2013 is exactly TWENTY NINE THOUSAND AND TWO HUNDRED
AND FIFTY DOLLARS ($29,250.00 USD). Every week thereafter, from 9-6-13 forward, this amount will increase
incrementally by SEVEN HUNDRED AND FIFTY DOLLARS ($750.00 USD).

                                                  Page 26
      Case 1:13-cv-06642-ER-RLE Document 1 Filed 09/19/13 Page 26 of 27




Respectfully Submitted,


By: ___________________
William Timmons, Esq.
25 Candee Avenue
Sayville, New York 11782
(631) 750-5980

Attorneys for Plaintiffs
TRANSCIENCE &YOLANDA VON BRAUNHUT

Dated: September 10, 2013




                                   Page 27
Case 1:13-cv-06642-ER-RLE Document 1 Filed 09/19/13 Page 27 of 27
